
263 So.2d 155 (1972)
In re ALABAMA FARM BUREAU MUTUAL CASUALTY INSURANCE COMPANY, Inc., a Corporation
v.
Floyd ANDERSON, Sr.
Ex parte Floyd ANDERSON, Sr.
8 Div. 488.
Supreme Court of Alabama.
May 25, 1972.
Douglas Claude Martinson, Hunstville, for petitioner.
No brief for respondent.
PER CURIAM.
Petition denied.
While probably a redundancy, we again call attention to the bench and bar that our denial of a petition for a writ of certiorari to one of our appellate courts does not mean that we approve of all of the language that may appear in the opinions of the appellate courts.
HEFLIN, C. J., and MERRILL, HARWOOD, BLOODWORTH and MADDOX, JJ., concur.
Note: For Cross reference:
Ala. Farm Bureau Mutual Casualty Insurance Co., Inc. v. Anderson, 48 Ala.App. 172, 263 So.2d 149 (8 Div. 45).
